Case 5:21-cv-00844-XR Document 753-3 Filed 09/05/23 Page 1 of 13




                                  APPENDIX C
          Case 5:21-cv-00844-XR Document 753-3 Filed 09/05/23 Page 2 of 13




                                          APPENDIX C
  PLAINTIFFS’ STATEMENT OF LEGAL PROPOSITIONS THAT ARE NOT IN DISPUTE
CONSTITUTIONAL PROVISIONS

    1. The First Amendment to the U.S. Constitution protects against laws “abridging the freedom

of speech.” U.S. Const. Amend. I.

    2. The Fourteenth Amendment to the U.S. Constitution provides, in relevant part: “No state

shall make or enforce any law which shall abridge the privileges or immunities of citizens of the

United States; nor shall any state deprive any person of life, liberty, or property, without due

process of law; nor deny to any person within its jurisdiction the equal protection of the laws.”

U.S. Const. amend. XIV.

    3. The Fifteenth Amendment to the U.S Constitution provides, in relevant part: “The right of

citizens of the United States to vote shall not be denied or abridged by the United States or by any

State on account of race, color, or previous condition of servitude.” U.S. Const. amend. XV.

FIRST AMENDMENT FREE SPEECH

    4. Free speech is protected both “from abridgment by Congress” and “from impairment by

the States.” Gitlow v. New York, 268 U.S. 652, 666 (1925).

    5. Courts apply “strict scrutiny” to content-based restrictions on speech. Reed v. Town of

Gilbert, 576 U.S. 155, 164 (2015).

    6. A regulation is “content-based” if it “single[s] out specific subject matter for differential

treatment . . . even if it does not discriminate among viewpoints within that subject matter.” City

of Austin v. Reagan Nat’l Advert. Of Austin, LLC, 142 S. Ct. 1462, 1471, 1472 (2022); see also

Turner Broadcasting System, Inc. v. Federal Communications Commission, 512 U.S. 622, 643

(1994) (“As a general rule, laws that, by their terms, distinguish favored speech from disfavored


                                                 1
120773197.1 0099831-00001
          Case 5:21-cv-00844-XR Document 753-3 Filed 09/05/23 Page 3 of 13




speech on the basis of the ideas or views expressed are content based.”).

    7. Courts apply “strict scrutiny” to laws that burden political speech. E.g., Dep’t of Tex.,

Veterans of Foreign Wars of U.S. v. Tex. Lottery Comm’n, 760 F.3d 427, 438–39 (5th Cir. 2014)

(en banc).

    8. Political speech includes speech “uttered during a campaign for political office.” Monitor

Patriot Co. v. Roy, 401 U.S. 265, 272 (1971).

    9. Under “strict scrutiny,” a challenged law is “presumptively unconstitutional and may be

justified only if the government proves that [the law is] narrowly tailored to serve compelling state

interests.” Reed, 576 U.S. at 163.

    10. To satisfy strict scrutiny, the government’s asserted state interests must be rooted in an

“actual problem,” which requires more than “anecdote and supposition.” United States v. Playboy

Entertainment Group, Inc., 529 U.S. 803, 822 (2000).

    11. To show that a law is narrowly tailored, the government must show there is no “less

restrictive alternative that would serve the Government’s purpose[.]” Playboy Entertainment, 529

U.S. at 813.

FOURTEENTH AMENDMENT VOID FOR VAGUENESS

    12. The Due Process Clause of the Fourteenth Amendment applies to state and local officials.

    13. A law is unconstitutional under the Due Process Clause if it is “so vague that it fails to give

ordinary people fair notice of the conduct it punishes, or so standardless that it invites arbitrary

enforcement.” Johnson v. United States, 576 U.S. 591, 595 (2015).

    14. A law must define the offense “with sufficient definiteness that ordinary people can

understand what conduct is prohibited and in a manner that does not encourage arbitrary and

discriminatory enforcement.” United States v. Brooks, 681 F.3d 678, 696 (5th Cir. 2012).


                                                  2
120773197.1 0099831-00001
          Case 5:21-cv-00844-XR Document 753-3 Filed 09/05/23 Page 4 of 13




    15. “When a statute ‘interferes with the right of free speech or of association, a more stringent

vagueness test should apply.’” Holder v. Humanitarian Law Project, 561 U.S. 1, 19 (2010).

FIRST AMENDMENT OVERBREADTH

    16. A law is unlawfully overbroad in violation of the First Amendment if “a substantial number

of its applications are unconstitutional, judged in relation to the statute’s plainly legitimate sweep.”

United States v. Stevens, 559 U.S. 460, 473 (2010).

FIRST AND FOURTEENTH AMENDMENTS UNDUE BURDEN

    17. The right to vote is a “fundamental political right, because [it is] preservative of all rights.”

Yick Wo v. Hopkins, 118 U.S. 356, 370 (1886).

    18. Under the First and Fourteenth Amendments to the United States Constitution, a state may

not unduly burden the right to vote.

    19. To determine whether a state election practice unduly burdens the right to vote, a court

must balance the character and magnitude of the burden the practice imposes on the right to vote

against the justifications offered by the state in support of the challenged law. See Burdick v.

Takushi, 504 U.S. 428, 434 (1992).

    20. When a state election law severely burdens the right to vote or is discriminatory, a court

must find that it is “narrowly drawn to advance a state interest of compelling importance” in order

to survive constitutional muster. Burdick, 504 U.S. at 434 (citation omitted); see also Norman

v.Reed, 502 U.S. 279, 280 (1992)

    21. Even a “slight” burden must be “justified by relevant and legitimate state interests

‘sufficiently weighty to justify the limitation.’” Crawford, 553 U.S. at 191 (controlling op.).

FOURTEENTH AND FIFTEENTH INTENTIONAL DISCRIMINATION

    22. The Fourteenth Amendment prohibits intentional racial discrimination by state actors.

                                                   3
120773197.1 0099831-00001
          Case 5:21-cv-00844-XR Document 753-3 Filed 09/05/23 Page 5 of 13




Discriminatory intent may be established by proof that the defendants used race as a motivating

factor in their decisions. Vill. of Arlington Heights v. Metropolitan Hous. Dev. Corp., 429 U.S.

252, 265 (1977).

    23. The Fifteenth Amendment enfranchised voters nationwide, regardless of race or color, and

is an independent source of authority to protect against discrimination in voting. “The Amendment

bans racial discrimination in voting by both state and nation. It thus establishes a national policy .

. . not to be discriminated against as voters in elections to determine public governmental policies

or to select public officials . . . .” Terry v. Adams, 345 U.S. 461, 467 (1953).

    24. Like the Fourteenth Amendment, discriminatory intent under the Fifteenth Amendment

may be established by proof that the defendants used race as a motivating factor in their decisions.

Mobile v. Bolden, 446 U.S. 55, 62, (1980) (plurality opinion) (citing Vill. of Arlington Heights,

429 U.S. at 265).

SECTION 2 OF THE VRA

    25. Section 2 of the VRA applies nationwide and prohibits voting standards, practices, or

procedures that are motivated by a discriminatory purpose or that result in the denial or

abridgement of the right of any citizen to vote on account of race, color or membership in a

language minority group. 52 U.S.C. § 10301.

    Discriminatory Effects Claim

    26. Subsection (b) of 52 U.S.C. § 10301 provides that a violation is established if “based on

the totality of the circumstances,” it is shown that the political processes leading to election in the

State “are not equally open to participation” by members of a protected class of citizens.

    27. In Thornburg v. Gingles, 478 U.S. 30 (1986) and Brnovich v. DNC, 141 S. Ct. 2321 (2021),

the Supreme Court set out frameworks for determining whether voting rules violate Section 2 by


                                                  4
120773197.1 0099831-00001
          Case 5:21-cv-00844-XR Document 753-3 Filed 09/05/23 Page 6 of 13




resulting in an abridgement of the right of any citizen to vote on account of race, color, or

membership in a language minority group.

    28. The Gingles inquiry, which looks to discriminatory effects, requires the Court “to consider

the ‘totality of the circumstances’ and to determine, based upon a practical evaluation of the past

and present realities whether the political process is equally open to minority voters.” Thornburg

v. Gingles, 478 U.S. 30, 32 (1986). The Senate Judiciary Committee, in a report accompanying the

1982 amendments to the Voting Rights Act, provided a non-exclusive list of factors that a court

should consider in determining whether the challenged practice impermissibly impairs the ability

of the minority group to elect their preferred representatives.

    29. These ‘totality of the circumstances’ factors include, but are not limited to:

              a. The extent of any history of official discrimination in the state or political

                   subdivision affecting the right of a member of a minority group to register, vote,

                   or participate in the democratic process;

              b. The extent to which voting in government elections is racially polarized;

              c. The extent to which the state or political subdivision has used voting practices or

                   procedures that tend to enhance the opportunity for discrimination against the

                   minority group;

              d. Exclusion of minorities from a candidate slating process;

              e. The extent to which minority group members in the state or political subdivision

                   bear the effects of past discrimination in areas such as education, employment,

                   and health, which hinder their ability to participate effectively in the political

                   process;

              f. The use of overt or subtle racial appeals in political campaigns;



                                                      5
120773197.1 0099831-00001
          Case 5:21-cv-00844-XR Document 753-3 Filed 09/05/23 Page 7 of 13




              g. The extent to which minorities have been elected to public office in the

                   jurisdiction.

              h. Whether there is a significant lack of responsiveness on the part of elected

                   officials to the particularized needs of the minority group

              i. Whether the policy underlying the use of such voting qualification, prerequisite to

                   voting, or standard, practice or procedure is tenuous.

    30. A violation of Section 2 exists where “'the political processes leading to nomination or

election’ are not ‘equally open to participation’ by members of the relevant protected group ‘in

that its members have less opportunity than other members of the electorate to participate in the

political process and to elect representatives of their choice.’” Courts must evaluate the totality of

the circumstances to make this determination.

    31. With respect to vote denial, there are additional guideposts that may be relevant to the

totality of the circumstances analysis. Brnovich, 141 S. Ct. at 2338-40. These guideposts include,

but are not limited to:

              a. The “size of the burden” placed by the challenged voting rule;

              b. The “degree to which a voting rule departs” from voting practices that were in

                   effect in 1982 (when Section 2 was last amended);

              c. The “size of any disparities” in a voting rule’s effect on “members of different

                   racial or ethnic groups”;

              d. The opportunities afforded by “a State’s entire system of voting”;

              e. The “strength of the state interests” served by the challenged voting rule.

    Discriminatory Intent Claim




                                                     6
120773197.1 0099831-00001
          Case 5:21-cv-00844-XR Document 753-3 Filed 09/05/23 Page 8 of 13




    32. Apart from prohibiting discriminatory effects, Section 2 also prohibits intentional racial

discrimination in voting laws.

    33. A voting law violates Section 2’s prohibition on intentional racial discrimination if the

State used race as a motivating factor in its decisions. Veasey v. Abbott, 830 F.3d 216, 231 (5th

Cir. 2016)

    34. Even if the challenged legislation is neutral on its face, discriminatory intent can be inferred

under the test set forth in Village of Arlington Heights v. Metropolitan Housing Development

Corp., 429 U.S. 252 (1977), and its progeny, which entails a consideration of available evidence

through a non-exhaustive set of factors. Id. at 266-68; see also Veasey, 830 F.3d at 230 (applying

Arlington Heights test in Section 2 challenge asserting intentional race discrimination).

    35. Among the factors relevant to determining discriminatory intent are: “(1) the historical

background of the decision; (2) the specific sequence of events leading up to the decision; (3)

departures from the normal procedural sequence; (4) substantive departures; and (5) legislative

history.” Overton v. City of Austin, 871 F.2d 529, 540 (5th Cir. 1989).

    36. In determining the existence of discriminatory intent, “courts may consider both

circumstantial and direct evidence of intent; however, “direct evidence” is not a prerequisite as

“neutral reasons can and do mask racial intent[.]” Veasey, 830 F.3d at 235; Vill. of Arlington

Heights, 429 U.S. at 266-68 (instructing courts to perform a “sensitive inquiry into such

circumstantial and direct evidence as may be available”).

SECTION 208 OF THE VRA

    37. Section 208 of the VRA applies nationwide and provides that “[a]ny voter who requires

assistance to vote by reason of blindness, disability, or inability to read or write” in English for

any reason “may be given assistance by a person of the voter’s choice, other than the voter’s


                                                   7
120773197.1 0099831-00001
          Case 5:21-cv-00844-XR Document 753-3 Filed 09/05/23 Page 9 of 13




employer or agent of that employer or officer or agent of the voter’s union.” 52 U.S.C. § 10508.

    38. Section 208 of the VRA preempts state laws that interfere with its voting assistance

guarantee, including state laws that restrict the actions of assisters. See OCA Greater Hous. v.

Texas (OCA-Greater Hous. II), No. 1:15-CV-679, 2022 WL 2019295, at *3 (W.D. Tex. June 6,

2022) (modifying injunction to enjoin new state law “limiting the activities eligible for assistance

to ‘marking or reading the ballot’” (citation omitted)); Disability Rts. N.C. v. N.C. State Bd. of

Elections (Disability Rts. N.C. II), No. 5:21-CV-361, 2022 WL 2678884, at *7 (E.D.N.C. July 11,

2022) (holding Section 208 preempted a restriction on choice of assister during absentee voting);

Ark. United II, 626 F. Supp. 3d at 1087 (finding Section 208 preempted a limitation on the number

of voters assisters could serve); Carey v. Wis. Elections Comm’n, 624 F. Supp. 3d 1020, 1032

(W.D. Wis. 2022) (enjoining restriction on absentee ballot return assistance).

    39. Section 208 of the VRA guarantees a voter’s choice in assister. OCA-Greater Houston v.

Texas, 867 F.3d 604 (5th Cir. 2017) (holding that Texas law limiting who can provide assistance

to non-English speaking voters violated Section 208 of the Voting Rights Act and noting that “a

state cannot restrict this federally guaranteed right [Section 208] by enacting a statute tracking its

language, then defining terms more restrictively than as federally defined.”).

    40. Section 208 of the VRA defines the word “vote” to “include all action necessary to make

a vote effective in any primary, special, or general election, including, but not limited to,

registration, listing pursuant to this chapter, or other action required by law prerequisite to voting,

casting a ballot, and having such ballot counted properly and included in the appropriate totals of

votes cast with respect to candidates for public or party office and propositions for which votes are

received in an election.” 52 U.S.C. § 10310(c)(1).

    41. Section 208 of the VRA guarantees the right to assistance in the voting process before



                                                  8
120773197.1 0099831-00001
         Case 5:21-cv-00844-XR Document 753-3 Filed 09/05/23 Page 10 of 13




entering the ballot box, “registration,” and it includes steps in the voting process after leaving the

ballot box, “having such ballot counted properly.” OCA-Greater Houston v. Texas, 867 F.3d 604,

614-615. (5th Cir. 2017).

TITLE II OF THE ADA

    42. Title II of the ADA provides that “no qualified individual with a disability shall, by

reason of such disability, be excluded from participation in or be denied the benefits of the

services, programs, or activities of a public entity, or be subjected to discrimination by any such

entity.” 42 U.S.C. § 12132.

    43. A qualified person with a disability under Title II of the ADA means “a physical or

mental impairment that substantially limits one or more major life activities of such individual; a

record of such an impairment; or being regarded as having such an impairment.” 42 U.S.C.

§ 12102(1)(A).

    44. Title II of the ADA defines a “public entity” as any state or local government [or] any

department, agency, special purpose district, or other instrumentality of a State or States or local

government.” 42 U.S.C. § 12131(1)(A)-(B).

    45. Title II of the ADA provides that “[n]o qualified individual with a disability shall, on the

basis of disability, be excluded from participation in or be denied the benefits of the services,

programs, or activities of a public entity, or be subjected to discrimination by any public entity.”

28 C.F.R. § 35.130(a).

    46. Title II of the ADA provides that “[a] public entity, in providing any aid, benefit, or

service, may not, directly or through contractual, licensing, or other arrangements, on the basis of

disability [. . . ] [d]eny a qualified individual with a disability the opportunity to participate in or

benefit from the aid, benefit, or service.” 28 C.F.R. § 35.130(b)(1)(i).


                                                    9
120773197.1 0099831-00001
         Case 5:21-cv-00844-XR Document 753-3 Filed 09/05/23 Page 11 of 13




    47. Title II of the ADA provides that “[a] public entity, in providing any aid, benefit, or

service, may not, directly or through contractual, licensing, or other arrangements, on the basis of

disability [. . .] [a]fford a qualified individual with a disability an opportunity to participate in or

benefit from the aid, benefit, or service that is not equal to that afforded others.” 28 C.F.R.

§ 35.130(b)(1)(ii).

    48. Title II of the ADA provides that “[a] public entity, in providing any aid, benefit, or

service, may not, directly or through contractual, licensing, or other arrangements, on the basis of

disability [. . .] [p]rovide a qualified individual with a disability with an aid, benefit, or service

that is not as effective in affording equal opportunity to obtain the same result, to gain the same

benefit, or to reach the same level of achievement as that provided to others.” 28 C.F.R.

§ 35.130(b)(1)(iii).

    49. Title II of the ADA provides that “[a] public entity, in providing any aid, benefit, or

service, may not, directly or through contractual, licensing, or other arrangements, on the basis of

disability [. . .] [p]rovide different or separate aids, benefits, or services to individuals with

disabilities or to any class of individuals with disabilities than is provided to others unless such

action is necessary to provide qualified individuals with disabilities with aids, benefits, or

services that are as effective as those provided to others.” 28 C.F.R. § 35.130(b)(1)(iv).

    50. Title II of the ADA provides that “[a] public entity, in providing any aid, benefit, or

service, may not, directly or through contractual, licensing, or other arrangements, on the basis of

disability [. . .] [o]therwise limit a qualified individual with a disability in the enjoyment of any

right, privilege, advantage, or opportunity enjoyed by others receiving the aid, benefit, or

service.” 28 C.F.R. § 35.130(b)(1)(vii).




                                                   10
120773197.1 0099831-00001
         Case 5:21-cv-00844-XR Document 753-3 Filed 09/05/23 Page 12 of 13




    51. Title II of the ADA provides that “[a] public entity shall make reasonable modifications

in policies, practices, or procedures when the modifications are necessary to avoid discrimination

on the basis of disability, unless the public entity can demonstrate that making the modifications

would fundamentally alter the nature of the service, program, or activity.” 28 C.F.R.

§ 35.130(b)(b)(7)(i).

    52. Title II of the ADA provides that “[n]o private or public entity shall coerce, intimidate,

threaten, or interfere with any individual in the exercise or enjoyment of, or on account of his or

her having exercised or enjoyed, or on account of his or her having aided or encouraged any

other individual in the exercise or enjoyment of, any right granted or protected by the Act or this

part.” 28 C.F.R. § 35.134(b).

    53. Title II of the ADA provides that “[a] public entity shall not impose or apply eligibility

criteria that screen out or tend to screen out an individual with a disability or any class of

individuals with disabilities from fully and equally enjoying any service, program, or activity,

unless such criteria can be shown to be necessary for the provision of the service, program, or

activity being offered.” 28 C.F.R. § 35.130(b)(8).

    54. Title II of the ADA provides that [a] public entity may not, directly or through

contractual or other arrangements, utilize criteria or methods of administration: That have the

purpose or effect of defeating or substantially impairing accomplishment of the objectives of the

public entity‘s program with respect to individuals with disabilities.” 28 C.F.R.

§ 35.130(b)(3)(ii).

SECTION 504 OF THE REHABILITATION ACT

    55. Section 504 provides that “no otherwise qualified individual with a disability in the

United States, shall, solely by reason of her or his disability, be excluded from the participation


                                                  11
120773197.1 0099831-00001
          Case 5:21-cv-00844-XR Document 753-3 Filed 09/05/23 Page 13 of 13




in, be denied the benefits of, or be subjected to discrimination under any program or activity

receiving Federal financial assistance or under any program or activity conducted by any

Executive agency or by the United States Postal Service.” 29 U.S.C. § 794(a).

    56. A qualified person with a disability under Section 504 means “any person who has a

disability as defined in section 12102 of title 42 [of the ADA].” 29 U.S.C. § 794(a).

    57. Under Section 504, a “program or activity” “means all of the operations of—(1)(A) a

department, agency, special purpose district, or other instrumentality of a State or of a local

government; or (B) the entity of such State or local government that distributes such assistance

and each such department or agency (and each other State or local government entity) to which

the assistance is extended, in the case of assistance to a State or local government.” 29 U.S.C. §

794(b).




                                                 12
120773197.1 0099831-00001
